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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TEXAS

EL PASO DIVISION
UNITED STATES OF AMERICA, :
§
Plaintiff, §
§
§

v. : CAUSE NO. EP-21-CV-173-KC
§
THE STATE OF TEXAS and GREG §
ABBOTT, in his official capacity as §
Governor of the State of Texas, §
§
§
Defendants. §

ANNUNCIATION HOUSE; ANGRY
TIAS & ABUELAS OF THE RIO
GRANDE VALLEY; JENNIFER
HARBURY; and FIEL HOUSTON,

Plaintiffs,

Ve CAUSE NO. EP-21-CV-178-KC

GREG ABBOTT, in his official
capacity as Governor of the State of
Texas; and STEVEN MCCRAW, in
his official capacity as Director of the
State of Texas Department of Public
Safety,

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Defendants.
ORDER

On this day, the Court considered Defendants’ Motion to Transfer Venue to the First-

Filed Court (“Motion”), ECF No. 35 In their Motion, Defendants argue that this case should be
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transferred to the Northern District of Texas, where Texas v. Biden, No. 4:21-cv-579 (N.D. Tex.),
is pending, under the “first-to-file rule.” For the reasons discussed herein, Defendants’ Motion is
DENIED.

In Texas v. Biden, the State of Texas filed a Complaint for Declaratory Relief against
President Joseph R. Biden, Jr., and several federal agencies, challenging a series of
administrative actions related to the expulsion of noncitizens. Compl., No. 4:21-cv-579, ECF
No. 1 (April 22, 2021). The Complaint focused on an order by the Centers for Disease Control
and Prevention (“CDC”) issued on February 17, 2021 (“February Order”), which exempted
unaccompanied noncitizen children from certain expulsion policies. Jd. §{] 84-123. Texas also
filed a Motion for Preliminary Injunction to enjoin the defendants from any activities in
furtherance of the February Order. Mot. Prelim. Inj., Texas, No. 4:21-cv-579, ECF No. 21 (une
23, 2021). Subsequently, the CDC issued an order on July 16, 2021 (“July Order”) that
superseded the February Order. Notice New CDC Order, Texas, No. 4:21-cv-579, ECF No. 50
(July 16, 2021). Because the February Order at issue was no longer in place, the Northern
District denied Texas’ Motion for Preliminary Injunction as moot. Order, Texas, No. 4:21-cv-
579, ECF No. 54 (July 29, 2021). Texas then filed an Amended Complaint, challenging the July
Order, among other things. Am. Compl., Texas, No. 4:21-cv-579, ECF No. 62 (Aug. 23, 2021).

In their Motion to Transfer in this case, Defendants argue that the issues presented
substantially overlap with those in Texas v. Biden. Mot. 3-6. Because Texas v. Biden was filed
prior to this case, Defendants argue that the Northern District of Texas has the authority to
determine whether this case should be transferred under the “first to file rule.” Mot. 1-2.
However, Defendants base that argument on the content of the original Complaint in Texas v.

Biden, See Mot. 1; Mot. Ex. A, ECF No. 35-1 (original Complaint attached to Motion to
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Transfer). As discussed, that Complaint is no longer operative, as Texas has filed an Amended
Complaint in Texas v. Biden that challenges a different set of federal government actions.
Because the allegations in the case before the Northern District have changed, Defendants’
Motion, ECF No..38, is DENIED as moot.

SO ORDERED.

SIGNED this 11th day of January, 2022.

 
